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FILED
2. STRICT COURT
AUGUSTA DIY.
UNITED STATES DISTRICT COURT O30 -3 PH LIE
SOUTHERN DISTRICT OF GEORGIA a oe ae es
SAVANNAH DIVISION oF
UNITED STATES OF AMERICA ) CREO 51. DIST. OF Q
CR4a eg -UY
v. ) 18 U.S.C. § 1038(a)(1)
) False Information and Hoaxes
MOHAMMED ARAFAT AFANEH )
THE GRAND JURY CHARGES THAT:
COUNT ONE

False Information and Hoaxes

18 U.S.C. § 1038(a)(1)
On or about November 17, 2023, in Chatham County, within the-SoutHern
District of Georgia, and elsewhere, the Defendant,

MOHAMMED ARAFAT AFANEH,

did intentionally convey false and misleading information, that is, that there was a
bomb inside the WTOC-Center on Chatham Parkway, which would detonate at 3:00
p.m. on that day, under such circumstances where such information may reasonably
have been believed, that indicated that an activity was taking and would take place,
that would constitute a violation of 18 U.S.C. § 113B (Terrorism), specifically 18
U.S.C. § 2332a(a)(2)(B) (Use of Weapons of Mass Destruction Against Property
Within The United States, Where Such Property is Used in Interstate and Foreign
Commerce) and 18 U.S.C. § 2332a(a)(2)(D) (Use of Weapons of Mass Destruction
Against Property Within The United States, Where The Offense Would Have Affected
Interstate or Foreign Commerce).

All in violation of Title 18, United States Code, Section 1038(a)(1).
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COUNT TWO
False Information and Hoaxes
18 U.S.C. § 1088(a)(1)
On or about November 17, 2023, in Chatham County, within the Southern

District of Georgia, and elsewhere, the Defendant,

MOHAMMED ARAFAT AFANEH,

did intentionally convey false and misleading information, that is, that there was a
bomb inside the Islamic Center of Savannah, which would detonate 7 minutes before
Maghrib, under such circumstances where such information may reasonably have
been believed, that indicated that an activity was taking and would take place, that
would constitute a violation of 18 U.S.C. § 118B (Terrorism), specifically 18 U.S.C. §
2332a(a)(2)(B) (Use of Weapons of Mass Destruction Against Property Within The
United States, Where Such Property is Used in Interstate and Foreign Commerce)
and 18 U.S.C. § 2332a(a)(2)(D) (Use of Weapons of Mass Destruction Against
Property Within The United States, Where The Offense Would Have Affected
Interstate or Foreign Commerce).

All in violation of Title 18, United States Code, Section 1038(a)(1).

{Signatures on the following page}

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A True Bill.
Jill E. einbeftg—_ Dims J. Hubbard
United States Attorney Assistant United States Attorney

*Lead Counsel

TancSDye_ _ AES

Tania D. Groover “Alexander Hamner
Assistant United States Attorney Assistant United States Attorney
Chief, Criminal Division *Co-lead Counsel
